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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                               PANAMA CITY DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,

v.                                              CASE NO.: 5:98cr36-SPM

CORY FLUELLEN,

           Defendant.
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     ORDER EXTENDING TIME AND DENYING APPOINTMENT OF COUNSEL

        THIS CAUSE comes before the Court upon Defendant Cory Fluellen’s

letter, treated as a motion, requesting appointment of counsel and an extension

of time to respond. Doc. 434. Upon consideration, it is

        ORDERED AND ADJUDGED:

        1.    The motion (doc. 434) is denied as to the request for appointment

of counsel.

        2.    The motion (doc. 434) is granted as to the extension of time.

Defendant shall have up to and including February 13, 2012, to file his response.

        DONE AND ORDERED this 30th day of January, 2012.


                                         s/ Stephan P. Mickle
                                         Stephan P. Mickle
                                         Senior United States District Judge
